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               EXHIBIT “A”
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                                                                                         Amounts
                                                                                       Approved by      Amounts that
                                                                                     Court and paid in were paid out of
                                                                                        June 2019       $250K Reserve
Cash Balance Per Final Report Exhibit 4 - April 18, 2019                782,092.05

Recoveries Received                                                     154,922.13

Receiver's Fees & Expenses                                  20,853.05                       8,500.45         12,352.60
Receiver's Accountants' Fees & Expenses                     32,066.11                      19,722.60         12,343.51
Receiver's Attorneys' Fees & Expenses                      476,385.41                     108,110.12        368,275.29
Storage, Bank and Other Fees                                 6,014.94                            -            6,014.94
                                                                        535,319.51        136,333.17        398,986.34

Current Cash Balance                                                    401,694.67
